             Case 3:05-cr-00465-JSW        Document 98       Filed 10/24/05     Page 1 of 2



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11                                UNITED STATES DISTRICT COURT
12                             NORTHERN DISTRICT OF CALIFORNIA
13                                   SAN FRANCISCO DIVISION
14
15   UNITED STATES OF AMERICA,                  )       No.: CR 05-00465-JSW
                                                )
16           Plaintiff,                         )
                                                )       ORDER EXCLUDING TIME UNDER
17      v.                                      )       THE SPEEDY TRIAL ACT
                                                )
18   ZIBU “BOB GAO,                             )
     ZHICHENG ZENG,                             )
19   LIN HUN MA, and                            )
     XIANG ZHUGE,                               )
20                                              )
             Defendants.                        )
21                                              )
                                                )
22
23           Defendant Gao was arraigned on the indictment on August 23, 2005 before the
24   Honorable Bernard Zimmerman. The matter was continued until August 26, 2005. At that time,
25   Alan Dressler, Esq., was provisionally appointed to represent defendant Gao. Because a date
26   had already been set before the Honorable Jeffrey S. White as to defendants Zeng, Ma and
27   Zhuge, the Court scheduled defendant Gao to appear before Judge White on September 29, 2005.
28
     ORDER EXCLUDING TIME
     UNDER THE SPEEDY TRIAL ACT
     No.: CR 05-00465-JSW
            Case 3:05-cr-00465-JSW          Document 98        Filed 10/24/05     Page 2 of 2



1           The parties requested an exclusion of time under the Speedy Trial Act from August 26
2    through September 29, 2005 based upon the need for effective preparation of counsel. Mr.
3    Dressler has just come into this case. The government is in the process of providing discovery to
4    Mr. Dressler, which he will need time to review. Therefore, the parties are requesting an
5    exclusion of time under the Speedy Trial Act. The parties agree that the time from August 26
6    through September 29, 2005 should be excluded in computing the time within which trial must
7    commence. See 18 U.S.C. §§ 3161(h)(8)(A) and (B)(iv).
8           Accordingly, the Court HEREBY ORDERS that the time from August 26 through
9    September 29, 2005 is excluded under the Speedy Trial Act, 18 U.S.C. § 3161. The Court finds
10   that the failure to grant the requested exclusion would deny the defendant reasonable time
11   necessary for effective preparation, taking into account the exercise of due diligence. See 18
12   U.S.C. § 3161(h)(8)(B)(iv). The Court further finds that the ends of justice served by granting
13   the requested exclusion outweigh the best interest of the public and the defendant in a speedy
14   trial and in the prompt disposition of criminal cases. See 18 U.S.C. § 3161(h)(8)(A). The Court
15   therefore concludes that this exclusion of time should be made under 18 U.S.C. § 3161(h)(8)(A).
16   SO ORDERED.
17   DATED: October 24, 2005                      ___________________________________
                                                  HONORABLE BERNARD ZIMMERMAN
18                                                UNITED STATES MAGISTRATE JUDGE
19
20   Approved as to form:
21
     /s/ Alan Dressler
22   ALAN DRESSLER
     Attorney for Defendant Gao
23
24
     /s/ Monica Fernandez
25   MONICA FERNANDEZ
     Assistant United States Attorney
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28
     ORDER EXCLUDING TIME
     UNDER THE SPEEDY TRIAL ACT
     No.: CR 05-00465-JSW                            2
